                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION


        LONNIE BILLARD,

                Plaintiff,

                v.                                          Civil Action No. 3:17-cv-0011

        CHARLOTTE CATHOLIC HIGH SCHOOL,
        MECKLENBURG AREA CATHOLIC
        SCHOOLS, and ROMAN CATHOLIC
        DIOCESE OF CHARLOTTE

                Defendants.



                      PLAINTIFF’S SUPPLEMENTAL AUTHORITY

       Pursuant to Local Civil Rule 7.1(j) and this Court’s order dated June 16, 2018

(ECF No. 44), Plaintiff Lonnie Billard submits Spencer v. Town of Bedford, No. 6:18-cv-

31, 2018 U.S. Dist. LEXIS 188310, at *10 n.2 (W.D. Va. Nov. 2, 2018)(attached as Ex.

A), as supplemental authority in support of Plaintiff’s Motion for Partial Summary

Judgment (ECF No. 26) and in opposition to Defendants’ Motion for Summary Judgment

(ECF No. 29). The opinion addresses the issue of whether sexual orientation

discrimination is covered by Title VII and whether Wrightson v. Pizza Hut of Am., 99

F.3d 138 (4th Cir. 1996) is binding precedent for this Court on that question.

       The opinion in Spencer, written by Senior District Court Judge Norman Moon, addressed

a motion to dismiss Title VII and other claims by a lesbian woman who had been terminated as

Deputy Chief of Police by the Defendant Town of Bedford, Virginia. The court found sufficient

pleading of discrimination based on her gender to withstand the motion to dismiss the Title VII

claim without deciding whether Title VII protected against sexual orientation discrimination.

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Spencer, 2018 U.S. Dist. LEXIS 188310, at *8-10. It noted, however, that she pled

discrimination on being a “gay woman” and offered the following with regard to whether

Wrightson v. Pizza Hut of Am., 99 F.3d 138 (4th Cir. 1996) is controlling precedent in the Fourth

Circuit on whether Title VII protects against sexual orientation discrimination as discrimination

based on sex.

       While the Court does not find it necessary to reach the question of Title VII's
       application to sexual orientation, it notes that the Fourth Circuit's pronouncement
       in Wrightson regarding the issue has all the hallmarks of dicta. See Jones v. Va.
       Polytechnic Inst. & State Univ., Civil Action No. 7:17-cv-531, 2018 U.S. Dist.
       LEXIS 163753 (W.D. Va. Sept. 25, 2018) (Ballou, J.) (questioning the authority
       of Wrightson insofar as it claims Title VII does not protect against discrimination
       based upon sexual orientation). Later developments further call into question the
       viability of Wrightson's exclusion of sexual orientation from Title VII. For
       example, after Wrightson, the Supreme Court espoused a broader reading of Title
       VII. Oncale v. Sundowner Offshore Servs., Inc., 523 U.S. 75, 79, 118 S. Ct. 998,
       140 L. Ed. 2d 201 (1998) (stating that "statutory prohibitions often go beyond the
       principal evil to cover reasonably comparable evils, and it is ultimately the
       provision of our laws rather than the principal concerns of our legislatures by
       which we are governed."). Additionally, the Equal Employment Opportunity
       Commission recently stated that a claim of discrimination based on sexual
       orientation was a claim of sex discrimination. Baldwin v. Foxx, EEOC Decision
       No. 0120133080, 2015 EEOPUB LEXIS 1905, 2015 WL 4397641, at *5 (July 15,
       2015) (concluding that "Complainant's claim of sexual orientation discrimination
       alleges that [a federal agency] relied on sex-based considerations and took his sex
       into account in its employment decision."). Ultimately, the Court recognizes this
       is an unsettled question that has led to a circuit split, and there are currently two
       petitions for writs of certiorari pending before the Supreme Court. Bostock v.
       Clayton Cty. Bd. of Comm'rs, 723 Fed. Appx. 964 (11th Cir. 2018) (upholding a
       prior ruling that rejected a cause of action for sexual orientation discrimination
       under Title VII), cert. pending No. 17-1618; Zarda v. Altitude Express, Inc., 883
       F.3d 100, 108 (2nd Cir. 2018) (holding that "Title VII prohibits discrimination on
       the basis of sexual orientation as discrimination because of sex"), cert. pending
       No. 17-1623 (internal quotations omitted); see also Hively v. Ivy Tech Cmty
       College of Ind., 853 F.3d 339, 340 (7th Cir, 2017) (concluding that
       "discrimination on the basis of sexual orientation is a form of sex
       discrimination").


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Spencer, 2018 U.S. Dist. LEXIS 188310, at *10 n.2 (W.D. Va. Nov. 2, 2018)

                                   CONCLUSION

       Plaintiff’s motion for partial summary judgment should be granted, and Defendants’

motion for summary judgment should be denied.

Dated: November 29, 2018                   Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this date, I electronically filed a copy of forgoing document with

the Clerk of Court using the CM/ECF system. All participants in the case are registered CM/ECF

users and are hereby served through the CM/ECF system.

Dated: November 29, 2018
                                             /s/ S. Luke Largess
                                             S. Luke Largess




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